                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 JAMES KNIGHT, JASON MAYES,                     )
                                                )
         Plaintiffs,                            )
                                                )
v.                                              ) Case No. 3:20-cv-00922
                                                ) Judge Trauger
THE METROPOLITAN GOVERNMENT                     ) Magistrate Judge Holmes
OF NASHVILLE AND DAVIDSON                       )
COUNTY,                                         )
                                                )
         Defendant.                             )


      PLAINTIFFS’ RESPONSE TO METRO’S MOTION FOR SUMMARY JUDGMENT


        Plaintiffs respectfully respond in opposition to the Metropolitan Government of Nashville

& Davidson County’s (Metro’s) Motion for Summary Judgment. Plaintiffs agree that there is no

dispute in material fact, and that this case is appropriate for summary judgment. Metro, however,

misconstrues the law surrounding exactions, a form of taking recognized by the Supreme Court

and courts within this Circuit as unconstitutional irrespective of whether it is imposed by law or

by an administrator. As a result, Metro’s motion fails as a matter of law and should be denied.

                                       INTRODUCTION

        The constitutional standard is dispositive in this case. The United States Supreme Court

has long recognized the standard set forth in Nollan v. California Coastal Commission, 483 U.S.

825 (1987), Dolan v. City of Tigard, 512 U.S. 374 (1994), and Koontz v. St. John’s River Water

Management District, 570 U.S. 595 (2013), for reviewing takings claims against permit conditions

like Metro’s sidewalk ordinance, codified at Metro Code § 17.20.120 et seq. The standard is so

well-settled that the Supreme Court has repeatedly, and as recently as this summer, recognized




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exactions as a unique category of takings separate and distinct from regulatory takings. See Cedar

Point Nursery v. Hassid, 141 S. Ct. 2063, 2079 (2021); see also Lingle v. Chevron, U.S.A, Inc.,

544 U.S. 528, 538 (2005). Under the correct standard, the government must demonstrate an

essential nexus and rough proportionality between the imposed condition and any perceived

impact of the proposed land use. Cedar Point, 141 S. Ct. at 2079 (“The inquiry . . . is whether the

permit condition bears an ‘essential nexus’ and ‘rough proportionality’ to the impact of the

proposed use of the property.”) (citing Dolan, 512 U.S., at 386, 391; Koontz, 570 U.S. at 599). 1

        Knowing it loses under Nollan, Dolan, and Koontz, Metro also attempts to distinguish this

case from Supreme Court precedent by arguing that this case involves a condition imposed through

legislation (the sidewalk ordinance), whereas the conditions in Nollan, Dolan, and Koontz were

imposed through administrative action. But the conditions in those Supreme Court cases were

legislative in their origin. They were just applied by an administrator the same way as the sidewalk

ordinance. The legislative/adjudicative distinction is thus an artificial one, albeit one that some

lower courts have endorsed in non-binding opinions. While Metro relates a split in authority at

great length, it does not cite any authority within the Sixth Circuit that is directly on point. Notably,

it missed F.P. Dev., LLC, v. Charter Township of Canton, 456 F. Supp. 3d 879 (E.D. Mich. 2020)

(Canton), where the court ruled that conditioning a tree removal permit on property owners

planting new trees or paying an in-lieu fee was an unconstitutional exaction, even though the




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  In its Response to Plaintiffs’ Motion for Summary Judgment, Metro argues for the first time that
it meets the Nollan/Dolan standard. (Doc. 26 at 3.) But as Plaintiffs have already explained in their
opening brief, the sidewalk ordinance lacks any essential nexus or rough proportionality to the
alleged impact of Plaintiffs’ new homes. And as Plaintiffs will further explain in their Reply, Metro
badly misconstrues the two-part test.
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condition was imposed through legislation. 2 The Canton decision is fully consistent with all

precedent in the Sixth Circuit regarding the broader issue of unconstitutional conditions. 3

       Unconstitutional conditions do not become permissible when they are demanded by

legislators instead of administrators. This is just as true in the Fifth Amendment context as it would

be with any other constitutional right. Because there is no dispute that Metro’s sidewalk condition

lacks an essential nexus or rough proportionality, this case is appropriate for summary judgment.

                                      LEGAL STANDARD

       The standard for determining whether summary judgment is appropriate is whether there

is a “sufficient disagreement to require submission to a jury or whether it is so one-sided that one

party must prevail as a matter of law.” Amway Distribs. Benefits Ass’n v. Northfield Ins. Co., 323

F.3d 386, 390 (6th Cir. 2003) (quotation omitted). All facts and evidence must be construed in

light of the non-moving party. Tolan v. Cotton, 572 U.S. 650, 660 (2014). To oppose a well-

supported motion for summary judgment, the opposing party must produce “specific facts showing

that there is a genuine issue for trial.” First Nat’l Bank v. Cities Serv. Co., 391 U.S. 253, 270

(1968). “The fact that both parties have moved for summary judgment does not mean that the court


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  The District Court also struck down the ordinance on regulatory takings grounds for separate
reasons. The Canton decision is currently pending a decision from the Sixth Circuit. See F.P. Dev.,
LLC v. Charter Twp. of Canton, No. 20-1447 (6th Cir. 2020).
3
 See, e.g., Planned Parenthood of Greater Ohio v. Hodges, 917 F.3d 908 (6th Cir. 2019) (relying
on Koontz to uphold a legislatively-imposed condition because plaintiffs did not have a
constitutional right to perform abortions); Sutton v. Parker, No. 3:19-CV-00005, 2019 U.S. Dist.
LEXIS 151382 (M.D. Tenn. Sept. 5, 2019) (applying Planned Parenthood and Koontz when
assessing execution protocols established by the state legislature and applied by a state agency),
aff’d, 800 Fed. Appx. 397 (6th Cir. 2020); West v. Parker, No. 3:19-CV-00006, 2019 U.S. Dist.
LEXIS 92494 (M.D. Tenn. June 3, 2019) (same); Woodard v. Ohio Adult Parole Auth., 107 F.3d
1178 (6th Cir. 1997) (finding that a law requiring inmates to admit guilt as a condition of clemency
placed an unconstitutional condition on the Fifth Amendment right against self-incrimination),
rev’d on other grounds, 523 U.S. 272 (1998).
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must grant judgment as a matter of law for one side or the other.” Taft Broad. Co. v. U.S., 929 F.2d

240, 248 (6th Cir. 1991). Summary judgment is appropriate where, as here, the outcome of the

case turns on a matter of law, like the proper constitutional standard. Fed. R. Civ. P. 56(a).

Plaintiffs agree (1) this case turns on a matter of law, and (2) is ripe for summary judgment.

                                 SUMMARY OF ARGUMENT

       The Fifth Amendment to the United States Constitution prohibits the government from

taking private property for public use without providing a property owner just compensation. U.S.

Const. amend. V. Takings come in many forms, including physical invasion, legislative enactment,

and conditions placed on the right to build or alter private property. See Lingle, 544 U.S. at 536–

37. When the government places a condition on the use of property, the condition will be reviewed

as a taking. Dolan, 512 U.S. at 385. Despite Metro’s attempt to offer a myriad of standards and

tests, the only test at issue—indeed the only argument Plaintiffs have ever put forth—is whether

the sidewalk ordinance is a condition that unconstitutionally burdens Plaintiffs’ rights to build

homes on their properties pursuant to Nollan, Dolan, and Koontz.

       Moreover, it does not—and should not—matter which body of government violates a

person’s constitutional rights. Metro suggests that the unconstitutional conditions doctrine only

applies to takings imposed by an administrative body, but its argument defies logic for a few

reasons. First, all exactions imposed by administrative bodies are, by their origins, legislative, and

then imposed by an administrator. Second, from a property owner’s perspective, a taking is a

taking, just like a free speech violation is a free speech violation. Whether the government’s

condition was legislatively or administratively mandated, it is all the same to Plaintiffs.




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                                          ARGUMENT

    I.   The nexus and proportionality standard, as described in Nollan, Dolan, and Koontz,
         is the appropriate standard to apply in this case.

         The Supreme Court has explained that there are three primary takings doctrines: physical

takings, regulatory takings, and takings based on the unconstitutional conditions doctrine. Lingle,

544 U.S. at 538. A taking occurs when the government (1) directly appropriates or physically

invades private property (a physical taking), Loretto v. Teleprompter Manhattan CATV Corp., 458

U.S. 419, 432–33 (1982); (2) enacts or applies a regulation that is “so onerous that its effect is

tantamount to a direct appropriation or ouster,” (a regulatory taking), Lingle, 544 U.S. at 537; or

(3) places conditions on a property owner’s right to use or build on her property that lack any

reasonable relationship to the development (an unconstitutional condition, or exaction), Koontz,

570 U.S. 606-07; see also Dolan, 512 U.S. 374; Nollan, 483 U.S. 825. 4

         Plaintiffs do not seek to belabor the reasons why Metro’s sidewalk ordinance is

unconstitutional. However, it is worth repeating that the ordinance imposes conditions that burden

the right not to have property taken without compensation in two respects. First, it requires

property owners to either build city sidewalks—quintessentially public infrastructure—or pay the

city money in the form of an in-lieu fee. Metro. Code § 17.20.120(A)(2), (D). Second, it requires

that they also surrender easements and rights-of-way. Id. at § 17.20.120(E). Although Metro does

not appear to have followed its own law by demanding an easement from Jason (Doc. 23, Def.’s

SUMF ¶ 9)—at least not yet—under the plain language of the ordinance, Jim must agree to provide

Metro with an easement. See Metro. Code § 17.20.120(E). By abusing its permitting authority to


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 Additionally, a regulation that limits the use of property (e.g., a zoning regulation) is reviewed
differently from one that demands or takes property. The Supreme Court made this distinction in
Dolan. 512 U.S. at 385.
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coerce the surrender of property that Metro wants, but cannot take outright, Metro has burdened

the right not to have property taken without compensation. This plainly amounts to an exaction.

See Koontz, 570 U.S. at 607 (“Extortionate demands for property in the land-use permitting context

run afoul of the Takings Clause not because they take property but because they impermissibly

burden the right not to have property taken without just compensation.”).

       A. The unconstitutional conditions doctrine prohibits any government body from
          holding a benefit hostage in exchange for surrendering a constitutional right.

       In its most basic formulation, the exactions doctrine is a “special application” of the

unconstitutional conditions doctrine, applicable to a variety of constitutional rights. Id. at 604. The

unconstitutional conditions doctrine provides that a government may not require a person to give

up a constitutional right in exchange for a discretionary government benefit. Perry v. Sindermann,

408 U.S. 593, 597 (1972). In the seminal unconstitutional conditions case, the Supreme Court held

that a government may not do indirectly that which it could not accomplish directly:

       [T]he power of the state […] is not unlimited; and one of the limitations is that it
       may not impose conditions which require relinquishment of constitutional rights. If
       the state may compel the surrender of one constitutional right as a condition of its
       favor, it may, in like manner, compel a surrender of all. It is inconceivable that
       guarantees embedded in the Constitution of the United States may thus be
       manipulated out of existence.

Frost & Frost Trucking Co. v. Railroad Comm’n. of Cal., 271 U.S. 583, 594 (1926) (striking down

a state law that conditioned the right of commercial carriers to operate on public highways). “[The]

doctrine holds that even if a state has absolute discretion to grant or deny any individual a privilege

or benefit, it cannot grant the privilege subject to conditions that improperly ‘coerce,’ ‘pressure,’

or ‘induce’ the waiver of that person’s constitutional rights.” Richard A. Epstein, Bargaining with

the State 5 (1993).



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      Through Nollan, Dolan, and Koontz, the Supreme Court made clear that the unconstitutional

conditions doctrine also applies to protect property rights against coerced waivers, referred to as

“exactions.” Lingle, 544 U.S. at 547 (explaining, in a unanimous opinion, that the test set forth in

Nollan and Dolan constitute a “special application” of the unconstitutional conditions doctrine).

As the Supreme Court explained, the unconstitutional conditions doctrine recognizes a

constitutional injury where a government forces a property owner to choose “between (a)

foregoing development opportunities, while preserving Fifth Amendment rights and (b) sacrificing

those rights in order to obtain authorization to carry out development.” Luke A. Wake & Jarod M.

Bona, Legislative Exactions After Koontz v. St. Johns River Management, 27 Geo. Int’l Envtl. L.

Rev. 539, 569 (2015). A finding that such a condition is unconstitutional is the equivalent of

finding that the demand “amount[s] to a per se taking[.]” Koontz, 570 U.S. at 615 (citing Dolan,

512 U.S. at 384; Nollan, 483 U.S. at 831).

       An individual’s constitutional right does not hinge on whether the government violates that

right through legislative or administrative action. See Stop the Beach Renourishment v. Florida

Dep’t of Env’t Prot., 560 U.S. 702 (2012) (emphasizing that the Takings Clause is unconcerned

with which “particular state actor is” burdening property rights). 5 The Supreme Court’s application

of the unconstitutional conditions doctrine is the same when reviewing conditions imposed by

statute. See, e.g., 44 Liquormart Inc. v. Rhode Island, 517 U.S. 484, 512–13 (1996) (striking down

a statute conditioning the right to do business on a waiver of constitutional rights). This is the




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  The Takings Clause applies equally to all coordinate branches of state government under the
Fourteenth Amendment. Therefore, it cannot be that the Takings Clause imposes a different
standard of review for actions violating property rights when carried out by a legislative body
where that same action would constitute a taking where carried out by an administrative agency.

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requisite approach because “[i]t is inconceivable that guaranties embedded in the Constitution of

the United States may [by act of legislation] be manipulated out of existence.” Frost & Frost

Trucking Co., 271 U.S. at 594. In the Fifth Amendment context, although judicial scrutiny may

vary based on the type of taking, it does not vary based on which body of government initiated the

taking. See, e.g., Nollan, 483 U.S. at 828–30; Dolan, 512 U.S. at 377–78; Koontz, 570 U.S. at 599–

602. In short, if the government can circumvent the Fifth Amendment by passing a law that does

what an administrator could not, then it can do the same with the First or Fourth Amendments.

       Here, as in Nollan, Dolan, and Koontz, the condition imposed by the government comes in

the form of private mitigation of a public issue as a condition of receiving a land-use permit.

Plaintiffs do not dispute that the condition here is imposed through legislation. But the conditions

in Nollan, Dolan, and Koontz were also imposed through legislation. See Nollan, 483 U.S. at 828–

30 (state law requiring dedication of beachfront property for a public access point as a condition

to obtain a development permit), Dolan, 512 U.S. at 377–78 (city land-use planning ordinance

requiring dedication of property for a bike path and greenway as a condition to obtain a permit),

and Koontz, 570 U.S. at 599–602 (state law requiring an in-lieu fee as a condition to obtain a

development permit for land designated as wetlands). There is no escaping the fact that the Fifth

Amendment exaction framework is the constitutional standard here.

       Metro’s law is no more “generally applicable,” than the laws at issue in Nollan, Dolan, and

Koontz. In all three cases, a local administrative body had some discretion to grant or deny building

permits. Nollan, 483 U.S. at 828-29; Dolan, 512 U.S. at 379-82; Koontz, 570 U.S. at 600-02. Much

like those cases, the Metro Zoning Administrator and Board of Zoning Appeals have authority to

grant or deny building permits to property owners like Jim and Jason under the sidewalk ordinance.

Therefore, contrary to Metro’s assertion, the sidewalk law is not generally applicable. See, e.g.,
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Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1877-78 (2021) (“A law is not generally applicable

if it ‘invite[s]’ the government to consider the particular reasons for a person’s conduct by

providing ‘a mechanism for individualized exemptions.’”).

       B. The Sixth Circuit Court of Appeals has relied on Nollan, Dolan, and Koontz to
          strike down legislatively-imposed unconstitutional conditions.

       The Sixth Circuit Court of Appeals has frequently and in a variety of contexts examined

legislatively-imposed unconstitutional conditions, never once turning them away because the

condition was legislatively mandated. For example, in 2019, the Sixth Circuit held that the Ohio

legislature did not place an unconstitutional condition on Planned Parenthood when a statute

effectively ended state funding of the organization. Planned Parenthood, 917 F.3d at 916. The

statute prohibited any entity from using state funds to “(1) Perform nontherapeutic abortions; (2)

Promote nontherapeutic abortions; (3) Contract with any entity that performs or promotes

nontherapeutic abortions; [or] (4) Become or continue to be an affiliate of any entity that performs

or promotes nontherapeutic abortions.” Id. at 910. Planned Parenthood argued that this violated

the Due Process Clause and the First Amendment because the organization had to agree to stop

performing or promoting abortions to receive government funding. Id. at 911.

       Relying on Koontz, the court upheld the statute, holding that “[i]f there’s no right, there’s

no unconstitutional condition.” Id. at 916. Thus, any claim under the unconstitutional conditions

doctrine must begin by examining the constitutional right allegedly infringed. The court held that

abortion providers lack a constitutional right to perform abortions and that the condition was not

unconstitutional because women could still seek abortions. Id. at 912. The court, however, left no

doubt that if the constitutional right existed, it would not have mattered that the legislature, and

not an administrator, burdened its exercise.


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       Shortly thereafter, this Court relied on the Planned Parenthood decision in two cases

involving death row inmates. See Sutton, 2019 U.S. Dist. LEXIS 151382; West, 2019 U.S. Dist.

LEXIS 92494. Several inmates filed a Section 1983 claim against county officials arguing, among

other things, that lethal injections were cruel and unusual punishment and that they were instead

entitled to execution by electrocution. Sutton, 2019 U.S. Dist. LEXIS 151382 at *14; West, 2019

U.S. Dist. LEXIS 92494 at *18. The plaintiffs argued that the current execution protocols—

established by the state legislature and the Tennessee Department of Correction (TDOC)—were

an unconstitutional condition because “Defendants are conditioning the benefit of electrocution on

the waiver of [Plaintiffs’] right to assert the unconstitutionality of electrocution in court.” Sutton,

2019 U.S. Dist. LEXIS 151382 at *60–63; West, 2019 U.S. Dist. LEXIS 92494 at *58–62.

       This Court turned to Planned Parenthood (and, by extension, Koontz), to assess these

claims. Sutton at *62–63; West at *61–62. It held that neither state law nor TDOC required the

plaintiffs to waive the right to challenge electrocution in the future. Sutton at *63; West at *62.

Thus, there was no unconstitutional condition placed on the plaintiffs. Id. Notably, the decisions

did not distinguish between legislatively- and administratively-imposed conditions.

       Similarly, in Woodard, the Sixth Circuit Court of Appeals looked to Nollan and Dolan to

hold that the Ohio legislature imposed an unconstitutional condition when it statutorily required

inmates seeking clemency to admit their guilt. 107 F.3d at 1188–91. The court held that requiring

inmates to admit guilt as a condition of clemency constituted a waiver of their Fifth Amendment

rights. Id. at 1189. The United States Supreme Court ultimately reversed the decision, reasoning

that inmates voluntarily participate in clemency proceedings; as such, the possibility of clemency

was merely a benefit, not a constitutionally guaranteed right. 523 U.S. at 285–88.



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       Although the Supreme Court reversed on the basis that clemency was not a protected Fifth

Amendment right, one issue was not in dispute: whether courts could hear the claim in the first

place. Neither court gave any weight to the fact that a state legislature imposed the clemency

condition. See 107 F.3d at 1189–93 (listing various problems with applying the unconstitutional

conditions doctrine but excluding any discussion about differences between administratively- and

legislatively-imposed conditions); 523 U.S. at 286–88 (analyzing the nature of the constitutional

right and benefit without considering the origin of the condition).

       Just recently, the Sixth Circuit heard oral argument in Canton where, through an ordinance,

a municipality demanded that property owners either replace trees or pay an in-lieu fee in exchange

for a tree removal permit—much like the sidewalk ordinance here. See Canton, No. 20-1447 (6th

Cir. 2020). There, the district court held that the law was a plainly unconstitutional exaction under

Nollan, Dolan, and Koontz. Canton, 456 F. Supp. 3d at 892–95. Metro ignores Canton.

       C. Many other courts have applied Nollan, Dolan, and Koontz without regard to
          which body of government imposed the condition.

       Finally, many other courts have also applied Nollan, Dolan, and Koontz to legislative

exactions. See, e.g., City of Portsmouth v. Schlesinger, 57 F.3d 12, 16-17 (1st Cir. 1995) (reviewing

ordinances that conditioned permit approvals on requirements to pay impact fees); Com. Builders

of N. Cal. v. City of Sacramento, 941 F.2d 872, 875 (9th Cir. 1991) (analyzing city ordinance

requiring dedication of affordable housing units); Levin v. City and Cty. of San Francisco, 71 F.

Supp. 3d 1072, 1089 (N.D. Cal. 2014) (finding city ordinance requiring property owners to pay a

lump sum to displaced tenants as a condition for withdrawing rent-controlled property from the

rental market unconstitutional); Cheatham v. City of Hartselle, 2015 U.S. Dist. LEXIS 25360, at

*8–13 (N.D. Ala. March 3, 2015) (finding state law requiring plaintiffs to set aside right-of-way


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failed to meet the rough proportionality standard); Nat’l Ass’n of Home Builders v. Chesterfield

Cty., 907 F. Supp. 166, 168–69 (E.D. Va. 1995) (finding ordinance requiring a cash proffer in

exchange for a favorable action on rezoning applications violated the Takings Clause); Town of

Flower Mound v. Stafford Estates L.P., 135 S.W.3d 620, 641 (Tex. 2004) (striking down a town

ordinance imposing road improvement requirements as a condition to obtain a development

permit); Curtis v. Town of S. Thomaston, 708 A.2d 657, 659–60 (Me. 1998) (reviewing town

ordinance imposing an easement for fire prevention purposes as a condition for subdivision

approval); N. State Home Builders Ass’n, Inc. v. Cty. of Du Page, 649 N.E.2d 384, 397 (Ill. 1995)

(finding state statutes and local ordinances imposing transportation impact fees on new

developments unconstitutional under Nollan and Dolan); Delchester Developers, L.P. v. Zoning

Hearing Bd., 161 A.3d 1081, 1099 (Commw. Ct. Pa. 2017) (assessing a local zoning ordinance

under the Nollan/Dolan framework: “in the context of an application for zoning relief, the issue of

whether a requirement in an ordinance represents an unconstitutional condition may also arise”).

        Metro improperly suggests that a majority of courts make a distinction between

legislatively- and administratively-imposed exactions. (Doc. 22, Def.’s Mem. at 12.) Even if that

were true, the distinction is impractical at best. It should make no difference whether a legislature

or government agency is violating the Constitution. It wouldn’t make a difference in the free

speech or search and seizure contexts. It certainly makes no difference to Plaintiffs.

    II. None of Metro’s suggested tests are appropriate for the permit condition imposed
        under the sidewalk ordinance.

        In Metro’s memorandum, it ignores Nollan/Dolan claims and instead encourages this Court

to look to another test—any other test—to assess the sidewalk ordinance. It tries: (1) the “rational

basis” test. (Doc. 22, Def.’s Mem. at 6-8); (2) the “reasonable relationship” test. (Id. at 20); (3) the


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“dual rational nexus” test, which Metro thinks is perhaps the reasonable relationship test in

disguise. (Id. at 21) (describing it as “confusing” and “misleading” for courts to call these tests

distinct, and arguing “it is more accurate” to view them as different “versions of the reasonable

relationship test”); and (4) the Penn Central test for regulatory takings. (Id. at 24 (citing Penn.

Cent. Transp. Co. v. City of New York, 438 U.S. 104, 124 (1978).) Metro’s jumble can be sorted

into two categories: rational basis and the Penn Central test. Neither standard applies to the

sidewalk mandate that is before this Court.

       A. This is not a regulatory taking subject to the Penn Central test.

       As described above, the Supreme Court in Lingle defined three primary categories of Fifth

Amendment takings: physical invasions, takings that deprive a property of all economic use, and

unconstitutional exactions. 544 U.S. at 538. The Court held that the Penn Central test—upon

which Metro relies heavily—applies only to regulatory takings that do not fall within one of those

three categories. Id. (“Outside these two relatively narrow categories (and the special context of

land-use exactions discussed below [. . .]), regulatory takings challenges are governed by the

standards set forth in Penn Central.”). The Court took care to relate the unique nature of exactions

claims under the Nollan/Dolan framework, like the claims asserted by Plaintiffs here, and to

describe how they differ from other takings claims. Id. at 546-548. It concluded that its regulatory

takings decision “should not be read to disturb these [Nollan/Dolan] precedents.” Id. at 548.

       Likewise, the Tennessee Supreme Court recently recognized that exactions-style takings

are distinct from regulatory takings. Phillips v. Montgomery Cty., 442 S.W.3d 233, 240 n.9 (Tenn.

2014). There, the plaintiffs brought a regulatory takings claim when a municipality denied their

proposed subdivision plan. Id. at 236. Unlike the present case, where Metro conditions receipt of

a building permit on Plaintiffs’ agreement to build sidewalks or pay an in-lieu fee, the municipality
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in Phillips simply determined it would not be in the public’s “best interest” to allow the plaintiffs

to build a subdivision. Id. In this way, there was no condition to challenge in Phillips. The court

assessed the three primary categories of takings described in Lingle before sorting the claim into

the fourth category of regulatory takings subject to the Penn Central test. Id. at 240 n.9, 244.

       B. The Rational Basis or “Reasonable Relationship” Tests Do Not Apply to a Takings
          Claim.

       While Metro grasps for any test other than the one set forth in Nollan, Dolan, and Koontz,

it primarily demands the rational basis test in seeking summary judgment. But the rational basis

test does not apply to Fifth Amendment takings claims; the test applies only to certain Fourteenth

Amendment claims like substantive due process/equal protection, not to rights enumerated in the

Bill of Rights. Compare Roman Catholic Diocese v. Cuomo, 141 S. Ct. 63, 70 (2020) (Gorsuch,

J., concurring) (“Rational basis review is the test this Court normally applies to Fourteenth

Amendment challenges, so long as they do not involve suspect classifications based on race or

some other ground, or a claim of fundamental right.”) (emphasis in original), with District of

Columbia v. Heller, 554 U.S. 570, 628 n.27 (2008) (“Obviously, the [rational basis] test could not

be used to evaluate the extent to which a legislature may regulate a specific, enumerated right, be

it the freedom of speech, the guarantee of double jeopardy, the right to counsel, or the right to keep

and bear arms.”) (citing United States v. Carolene Products Co., 303 U.S. 144, 152 n.4 (1938)). 6


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  None of Metro’s cases support its argument for rational basis. (Def.’s Mem. at 6, Doc. 22.) Only
two used the rational basis test at all: Village of Euclid v. Ambler Realty Co., 272 U.S. 365 (1926)
and the unpublished state court case of Consol. Waste Sys., LLC v. Metro. Gov’t of Nashville, 2005
Tenn. App. LEXIS 382 (Tenn. Ct. App. June 30, 2005). And, unlike the sidewalk ordinance, all of
Metro’s cases concerned laws that imposed limits on the use of property but did not demand its
total surrender. See Village of Euclid, 272 U.S. at 388; E. Enters. v. Apfel, 524 U.S. 498, 523 (1998)
(Congress’s allocation scheme for funding health benefits for coal miners was not “an instance in
which the government directly appropriates private property for its own use.”); Lingle, 544 U.S.

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       In Nollan, the majority opinion outright rejected the dissent’s effort to employ rational

basis review. 483 U.S. at 840–41. Likewise, in Dolan, the Supreme Court declined to incorporate

the “reasonable relationship” test into its exactions analysis precisely “because the term

‘reasonable relationship’ seems confusingly similar to the term ‘rational basis’ which describes

the minimal level of scrutiny under the Equal Protection Clause of the Fourteenth Amendment.”

512 U.S. at 391. The Court rejected the idea that a “city’s conditional demands for part of

petitioner’s property,” could be treated as a mere “business regulation” when the law is challenged

“on the ground that it violates a provision of the Bill of Rights.” Id. at 392. If it were so simple to

skirt judicial review, then warrantless searches of a business, or a prohibition on advertising, would

likewise fall under the rational basis test. Id. The same logic applies to the Fifth Amendment. Id.

(“We see no reason why the Takings Clause of the Fifth Amendment, as much a part of the Bill of

Rights as the First Amendment or Fourth Amendment, should be relegated to the status of a poor

relation in these comparable circumstances.”).

       Under the Fifth Amendment, it does not matter if a law has a public purpose that is

rationally related to taking private property. See Nollan, 483 U.S. at 841 (“The Commission may

well be right that it is a good idea, but that does not establish that the Nollans (and other coastal

residents) alone can be compelled to contribute to its realization.”). An exaction must still meet

the essential nexus and rough proportionality requirements. Cedar Point, 141 S. Ct. at 2079. When

Metro leverages its permitting authority to coerce the surrender of property, it must comport with




at 547–48 (zoning regulation did not take property, but rather limited the amount of rent an oil
company can charge); Phillips, 442 S.W.3d at 236 (denial of proposed use of land as a
subdivision); Mobile Home City of Chattanooga v. Hamilton Cty., 552 S.W.2d 86, 87 (Tenn. Ct.
App. 1976) (finding zoning regulation constitutional because it only imposed size and frontage
limits, rather than take the entire property).
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the Fifth Amendment, regardless of whether its goals are legitimate. See Nollan, 483 U.S. at 841–

42 (“California is free to advance its ‘comprehensive program,’ if it wishes, by using its power of

eminent domain for this ‘public purpose,’ see U.S. Const., Amdt. 5; but if it wants an easement

across the Nollans’ property, it must pay for it.”).

       Plaintiffs bring a Fifth Amendment takings claim, not a Fourteenth Amendment claim.

They do not challenge Metro’s ability to build sidewalks, just Metro’s demand that private parties

bear the cost. And when the government demands property as a condition of receiving a permit, it

is a taking. Neither the rational basis nor reasonable relationship test applies.

  III. Metro is unjustly enriched by collection of unconstitutional in-lieu fees and restitution
       is the proper remedy.

       Metro is not entitled to summary judgment on the unjust enrichment claim. Jason conferred

a benefit by paying a fee that the city appreciated when it built sidewalks on someone else’s

property miles away from Jason’s home. Restitution is a well-recognized remedy under Section

1983 and unjust enrichment.

       Plaintiffs brought this action under Section 1983, including Claim 2, an unjust enrichment

claim. (Compl. ¶¶ 1, 22, Doc. 1.) The elements of unjust enrichment are: (1) plaintiff conferred a

benefit on defendant; (2) defendant appreciated the benefit; and (3) it would be unjust for the

defendant to retain the benefit. Lawyers Title Ins. Corp. v. United Am. Bank of Memphis, 21 F.

Supp. 2d 785, 805 (W.D. Tenn. 1998) (quoting B & L Corp. v. Thomas & Thorngren, Inc., 917

S.W.2d 674, 680 (Tenn. Ct. App. 1995)).

       A. Metro is not entitled to summary judgment on the unjust enrichment claim.

       Metro never relates the elements of an unjust enrichment claim. (Doc. 22, Def.’s Mem. at

28-30.) Metro ignores that Tennessee state and federal courts consistently allow plaintiffs to sue


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municipalities under a theory of unjust enrichment. See Lebanon v. Baird, 756 S.W.2d 236, 245

(Tenn. 1988); Sircy v. Metro. Gov’t of Nashville & Davidson County, 182 S.W.3d 820–21 (Tenn.

App. 2005); Noel v. Metro. Gov’t of Nashville & Davidson County, 2014 U.S. Dist. LEXIS 10252,

at *12 (M.D. Tenn. January 28, 2014) (“Claims of unjust enrichment may lie against municipal

entities, just as they can against private parties.”) (citing Baird, 756 S.W.2d at 245)); Halpern

2012, LLC v. City of Ctr. Line, 806 Fed. Appx. 390, 391 (6th Cir. 2020).

        Metro argues that Plaintiffs did not suffer a “diminution in value” because their property

may have increased due to the alleged “benefits of the sidewalk network.” (Doc. 22, Def.’s Mem.

at 30.) This is a breathtaking claim on its face; Metro certainly lightened Jason’s pocketbook by

$8,883.21. Regardless, diminution in value is a relevant factor for a regulatory taking under Penn

Central, which is not what Plaintiffs allege. For an unjust enrichment claim—the claim Plaintiffs

actually raised—Plaintiffs need only show that they conferred (or, in Jim’s case, will confer) a

benefit on Metro, that it appreciated, and that it would be unjust for Metro to keep the benefit.

Lawyers Title Ins. Corp., 21 F. Supp. 2d at 805. The law of unjust enrichment does not consider

whether the benefit may have resulted in ancillary public benefits that “likely increased” (Doc. 22,

Def.’s Mem. at 30) the value of the property Metro has unlawfully taken.

       Diminution in value is certainly not an element of an exactions claim. After all, in Koontz,

the prevailing property owner lost no value whatsoever because he never agreed to the condition

in the first place and his permit was denied. 570 U.S. at 607. Indeed, that was the major issue in

the case. 7 Id. (“The Florida Supreme Court puzzled over how the government’s demand for


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  Metro cites Koontz for the proposition that a diminution in value is the “central concern” in an
exactions claim. (Doc. 22, Def.’s Mem. at 29 (citing Koontz, 529 U.S. at 614).) But Metro ignores
that, like Jim, the plaintiff in Koontz never paid a thing or made a showing that the exaction created

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property can violate the Takings Clause even though ‘no property of any kind was ever taken.’”).

And Jason actually did agree to the condition and lost $8,883.21. (Doc. 23, Def.’s SUMF ¶ 15.) In

asserting that Jason’s property “likely” increased in value—as if that matters—Metro cites no facts

(Doc. 22, Def.’s Mem. at 30), in sharp contrast to the government entity in the case Metro cites

(id. at 29): Cline v. Red Bank Util. Dist., 250 S.W.2d 362, 364 (1952) (“There is proof to that

effect, and it is not contradicted.”). Finally, Metro’s argument is especially perplexing because the

sidewalk network Metro claims increased Plaintiffs’ property values does not actually connect to

their properties. (Doc. 20, Pls.’ SUMF ¶¶ 16, 24, 30.)

       The Cline decision from 1952 does not support Metro. (Doc. 22, Def.’s Mem. at 29.) There,

the plaintiff claimed the utility district had made an implied contract with her to reimburse her for

building a private sewer line, but the Court found “no competent evidence” of a contract. 250

S.W.2d at 363. In other words, the case turned on a failure to prove a contract, which is not at issue

here. Plaintiffs are not claiming reimbursement for infrastructure they chose to build under an

implied contract theory. Plaintiffs did not pay (or build) anything voluntarily. There is no dispute

that Jason did everything he could to avoid paying the sidewalk in-lieu fee, only doing so once he

had no other options. (Doc. 23, Def.’s SUMF ¶ 15.) The Supreme Court recognized that holding

permits for ransom was unconstitutional in all three of its major exactions cases, all of which

postdate Cline by many decades. Metro’s authority is notable in that it cannot produce a case




a net loss for his property’s value. 529 U.S. at 614 (describing the mere demand for an in-lieu fee
as “thereby diminishing without justification the value of the property”). Still worse for Metro’s
argument, on the same page cited by Metro, the Supreme Court rejected the appropriateness of the
regulatory takings test, accepting Koontz’s argument that “when the government commands the
relinquishment of funds linked to a specific, identifiable property interest such as a bank account
or parcel of real property, a “per se [takings] approach” is the proper mode of analysis under the
Court’s precedent.” Id.
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standing for the proposition that it was not unjustly enriched when it demanded Jason pay, or that

restitution would not be appropriate.

       B. Restitution is the only appropriate remedy.

       Metro’s primary argument goes to the appropriateness of restitution as a remedy. (Doc. 22,

Def.’s Mem. at 28 (quoting Knick v. Twp. of Scott, 139 S. Ct. 2162, 2176 (2019).) Metro insists

that only compensation is a remedy. Metro is wrong as a matter of law, but as a practical matter,

how would compensation actually differ from restitution since what Metro “took” from Jason was

a check, not a piece of property whose value must be ascertained? Much as a challenge to a

governmental demand for “a direct transfer of funds” does not require a suit for damages, Apfel,

524 U.S. at 521(quotation and citation omitted), seeking just compensation for the money Jason

paid Metro makes no sense. It would “entail an utterly pointless set of activities” that would wind

up in the same place as a restitution award. Id. (internal quotation and citation omitted).

       Restitution is not just a legally available remedy but the obvious one. As recognized by the

Supreme Court in Koontz, the question of remedies turns on “the cause of action—whether state

or federal—on which the landowner relies.” Koontz, 570 U.S. at 609. Plaintiffs rely on a federal

cause of action: Section 1983. (Compl. ¶ 1.) As recognized by courts in this Circuit, restitution is

an appropriate remedy under Section 1983. Pund v. City of Bedford, 339 F. Supp. 3d 701, 716

(N.D. Ohio 2018) (citing cases: “Federal courts are authorized to enter declaratory judgments and

orders of restitution, as appropriate, as a direct remedy under Section 1983.”); Yannoti v. City of

Ann Arbor, 2019 U.S. Dist. LEXIS 185773, at *10 (E.D. Mich. Oct. 28, 2019) (citing cases: “The

City fails to demonstrate that restitution damages or refund of fines because of a Fourth

Amendment violation are clearly not available to any claimant as a matter of law under § 1983.”).



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       Plaintiffs also rely on a Tennessee cause of action: unjust enrichment. (Compl. ¶¶ 150-59.)

Restitution is an appropriate remedy for unjust enrichment. Chase Manhattan Bank, N.A. v. CVE,

Inc., 206 F. Supp. 2d 900, 909 (M.D. Tenn. 2002) (“The remedy for unjust enrichment requires

that the person who has been unjustly enriched at the expense of another make restitution to that

person.”) (citing Browder v. Hite, 602 S.W.2d 489, 491 (Tenn. Ct. App. 1980)). A district court in

this Circuit recently awarded restitution as a remedy for unjust enrichment claims premised on a

wrongful exaction. See Pund, 339 F. Supp. 3d at 716–17 (awarding restitution for an exactions

challenge to inspections fees under Ohio unjust enrichment cause of action).

       Although Jim has not yet built his home, that does not mean that Metro is entitled to

summary judgment on his claims. Jim faces an imminent injury. See Clapper v. Amnesty Int’l USA,

568 U.S. 398, 416 (2013) (finding plaintiffs must demonstrate a future harm that is “certainly

impending”). When government takes a discrete fund of money, but the transfer of money has not

yet occurred, a suit for compensation is “not available,” and therefore, a request for an injunction

is proper. Apfel, 524 U.S. at 520; Student Loan Marketing Ass’n. v. Riley, 104 F.3d 397, 401 (D.C.

Cir. 1997) (same). Metro concedes that it will not give Jim a permit until he satisfies the condition.

(Doc. 23, Def.’s SUMF ¶ 8; Compl. ¶ 73; Ans. ¶ 73.) His building permit expired because he

refused to comply with Metro’s demand. (Doc. 20, Pls.’ SUMF ¶ 20.) Because he will build once

the condition is removed (id. ¶ 21), the appropriate remedy for Jim is not restitution, but the

injunction demanded in the Complaint. (Compl. ¶ 163.)

                                          CONCLUSION

       This Court should deny Metro’s Motion for Summary Judgment and grant Plaintiffs’

Motion for Summary Judgment.



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Dated: September 29, 2021.                     Respectfully submitted,


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